UNITED STATES DISTRICT COURT
DISTRICT OF NEW HAMPSHIRE

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Felicia M Desimini
Plaintiff

Vv.

John F. Durkin, Jr.

and
Wilson, Bush, Durkin &
Keefe, PC

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Civil Action No, 1: 14-cv-00112-JD
DEMAND FOR JURY TRIAL |

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STIPULATION OF DISMISSAL

Pursuant to the Court's Order of January 9, 2017, the parties respectfully stipulate that the
plaintifhas received payment of the settlement amount from the defendant and that the docket

may now be marked dismissed with prejudice.

Respectfully submitted,

John F. Durkin, Jr. and
Wilson, Bush, Durkin & Keefe, PC

By their Attorneys,

Wadleigh, Starr & Peters, PLLC

Dated: _. February 2, 2017 /s/ Jeffrey H. Karlin

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(603) 669-4140

/s/ Felicia M. Desimini in pro-se
Felicia M Destmini Pro Se

Dated: ......-

